Case 1:13-cv-01432-RA-KNF Document 139-18 Filed 12/29/15 Page 1 of 12




                      Exhibit R

                         REDACTED
           Case 1:13-cv-01432-RA-KNF Document 139-18 Filed 12/29/15 Page 2 of 12



       From:
       Sent:        Mon 10/01/2012 3:14 PM (GMT -7)
       To:               Doc Review
       Cc:          Andrew Kutscher; Todd Riegler
       Bcc:
       Subject:     Updated Guidelines 10.1 1LR.DOC
       Attachments: 4987735_1_Updated Guidelines 10.1 1LR.DOC



       Hi Everyone-



       Here is the latest Document Review Guidance/Update. This document incorporates the
       original guidelines along with the Weekly Updates. Therefore, it is meant to replace the old
       updates/guidelines. This document will continue to be updated as warranted.



       Thanks-




PRIVILEGED AND CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER                                      QE00211200
            Case 1:13-cv-01432-RA-KNF Document 139-18 Filed 12/29/15 Page 3 of 12
      ATTORNEY WORK PRODUCT                                                                              Page 1
      PRIVILEGED and CONFIDENTIAL                                                                        DRAFT




                                      Document Review Guidelines- lLR
                                                   Updated as of 10/1/12

      I. General Information

      •         Confidentiality: All documents are presumptively confidential. Reviewers will be
                determining whether to remove confidentiality-tagging public/publicly available
                documents "Not Confidential".

                      o       Highly Confidential Tag: applied to documents containing highly sensitive (e.g.,
                              social security numbers and property addresses

      •         Date Range: The exact date range of responsive documents is still being worked out
                with the defendants. As such, the current date range of responsive documents is from
                early                . {2LR's see below for post                    review instructions.}

      •         Interesting and Key tags should be used to tag documents that would be useful in
                deposition preparation and/or should be brought to the associates' attention. Please use
                these tags only to identifY crucial documents.

      •


      •


      II. General                               Responsiveness

      •         Any communication by and between the                and any of the defendants.

      •         General             discussions: Responsive even if they don't involve specific deals.

      •         Documents listing                     but no names or other identifying information. (7 /9/12)

      •         Any                             that looks like it could be one of ours. These
                documents are Responsive regardless of their date (i.e.,     documents are Responsive).

      •         Requests or offers to purchase; preliminary or final agreements; commitments

      •         Creation, formation, structuring of those                    or related

      •         Analysis, evaluation, review, or decision-making process in                       concerning
                our                 including                                                           -
                including                          which apparently include ours, like




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PRIVILEGED AND CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                  QE00211201
            Case 1:13-cv-01432-RA-KNF Document 139-18 Filed 12/29/15 Page 4 of 12
      ATTORNEY WORK PRODUCT                                                                                 Page2
      PRIVILEGED and CONFIDENTIAL                                                                           DRAFT


      •               emails: not because they are particularly responsive, but because the
                          emails tend to come from Defendants so would rather err on the side of
                caution. Same for                     . (7/16/12 -Andrew)

      •                            : Tag as responsive if the document involves         or one of our

      •         Computer Programs documents: Documents that contain settings for computer
                programs found in the files of a                          may be Responsive.
                Similar documents found in the files of a              are Non-Responsive if
                they do not concern             . (8/14/12)

      •         Publicly filed court documents

      •                                           by any Defendant concerning our                            or, if
                general, groups which might include our

      •                                           documents: The                 was arranged by the Defendants
                and sold to the             along with the

                                                                                               Documents
                discussing                                     (i.e., their               ) may be Responsive.

      •

                      o A document describing or evaluating the practices of one of the defendant
                                  (Tab 1-Slide 15) (good or bad practices, or                        ) on
                        a non-complaint       unless it is a                      doc that did not make
                        it to the   side. (7 /3/12 -Andrew)

                      o




                      o                                  documents responsive if they relate to the
                              litigations. If you're not sure, then call it Responsive.

      •                          : Look out for                                    . If the       is being
                proposed or developed or changed by                   the "Deliberative Process" privilege tag
                may apply." (See below.)

      •                                                        : These are responsive (7 /5/12, 7/17/12          )




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PRIVILEGED AND CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                         QE00211202
             Case 1:13-cv-01432-RA-KNF Document 139-18 Filed 12/29/15 Page 5 of 12
      ATTORNEY WORK PRODUCT                                                                                  Page 3
      PRIVILEGED and CONFIDENTIAL                                                                            DRAFT


      •                      documents: Documents analyzing                                          at a high
                level, including any details referencing at least
                                           are responsive.

      •                                   : It is theoretically possible for a        to relate back to a
                much earlier filed            (as far back as the early        ). Mark early-filed
                              as Responsive if it appears they could track to one of our         A
                related to one of our                with comments from the                            folks
                (as opposed to legal) is Responsive.

      •         Public newsletters and other documents discussing the
                       (from      , consultants, news sources)

      •                           Emails: Ifyou see direct communications between
                                  and any              , notify the            . However, you only have
                to let the team know of               communications if it contains non-public
                information- such as a
                                                                               . (9/4/12) Discussions
                about the                 are Responsive, but would not be particularly interesting.

      •                                                               (NR if not ours) (9/7/12)

      •
                (7 /9/12)

      III.                                           (2LR's- see Section X. below)

      •                              documents are relevant if the following applies:

                              1. Pertains substantively to                       AND

                              2. To/From/CC/Seen by the                     " (ie:
                                                                                     ). (See Players List Tab 3
                              for names.)

      •         Other instances where                        documents are responsive:

                              1.               documents discussing                            and/or adherence to
                              same

                              2.                documents discussing                 - even if the          being
                              discussed is not an          of any of our                  .

                              3. Where the issue is primarily a              policy document:




      99999.76613/4987735.1




PRIVILEGED AND CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                         QE00211203
            Case 1:13-cv-01432-RA-KNF Document 139-18 Filed 12/29/15 Page 6 of 12
      ATTORNEY WORK PRODUCT                                                                                  Page4
      PRIVILEGED and CONFIDENTIAL                                                                            DRAFT


                              a. Evaluation of specific               (not just          in general) (Example:
                              discussion about the quality of an                            -data regarding this
                              evaluation is sufficient to establish responsiveness)

                              b.                modeling by      custodians even ifthere isn't anything
                              specifically mentioning     (otherwise do not produce)

      •         Remember: It's not a blanket rule that we're producing any                         doc that
                crossed the                     ' desks. A mere passing reference to               is not enough
                to make a document responsive)

      IV. Privilege

      •         Use discretion marking documents Privileged. But, if a document has "a hint" of
                privilege, mark it Privileged. 1LRs should apply privilege tagging liberally, to be refined
                during 2LR- but ultimately reviewed during a separate Privilege Review. When in
                doubt, err on the side of calling a doc /family privileged/work product so it can be
                reviewed more fully in Privilege Review.

      •         That being said, If you come across a document where it's obviously that priv has been
                broken, you no longer have to tag it as priv. For example, if you have an email that went
                outside ofthe                 or their attorneys and consultants (and are sure that priv
                was broken) then you can skip the priv tag. (9/4/12)

      •         If you come across an attorney whose name is not on the players list, then send the name
                with the Relativity DociD to the supervising 2LR attorney.

      •         If parent is priv, whole family is priv. (Todd, 9/25/12)

      •         People with /LEGAL/ in their email address should be treated as attorneys.

      •                                                              or later should be tagged Privileged.
                (7 /11/12)

      •         Communications with                                : treat these communications as preserving
                privilege (7 /17/12 -Andrew)

      •         Consultants: A privileged document that is sent to a consultant working for the
                should be tagged Privileged.

      •                                                           Meetings: Where there is a question about
                whether draft minutes from                 meetings are privileged, mark them Privileged.

      •         Drafts of 1OKs and drafts of 1OQs should be tagged Privileged if they include a
                discussion ofthe                                    . If they do not include a discussion
                of the                                    then they are Non-Responsive.




      99999.76613/4987735.1




PRIVILEGED AND CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                      QE00211204
            Case 1:13-cv-01432-RA-KNF Document 139-18 Filed 12/29/15 Page 7 of 12
      ATTORNEY WORK PRODUCT                                                                          PageS
      PRIVILEGED and CONFIDENTIAL                                                                    DRAFT


      •         Draft

      •         Handwritten notes: Notes have been tagged as priv without any indication that they
                notes could be an attorney. There should be some reason to believe that the notes were in
                fact made by attorney or in discussions with an attorney or qualify as work product.

      •                                                                           should be treated as
                Responsive and Privileged-Work Product for the time being. If you see an email
                reflecting the beginning or creation of this              send a copy to both teams.
                (7 /13/12) Andrew is interested in seeing those                documents to figure out
                                                                     . So would not include
                documents after QE was retained. (9/10/12) Just to clarify, in case there are any
                questions, Andrew does not expect to see emails regarding the
                                       . (10/1/12)

      •                                           Ifyou come across these types of documents, you
                should tag them priv/DP. Here's a snippet: (9/13/12)




      V. Deliberative Process Privilege

                                                                                          DP applies to the
      "opinions, recommendations, and deliberations" of a                          in the course of
      formulating                                   . The communication has to have occurred prior to
      the                                 in question, and it must contain recommendations or
      opinions - DP won't apply to communications that contain only factual material. Because they
      can be considered                           DP may apply to communications within either
                 , or between                      (if any). Docs/communications produced by
                  which contain opinions, recommendations or deliberations as to
      future decisions or policies - whether draft or final, and in the form of reports or documents from
      any other part of the examining process- should be tagged DP. Docs/communications produced
      by                  which respond to same, should be tagged BEP. In short:

                 1.           Look for any internal documents/communications at or between


                2.            Don't consider internal documents/communications at or between
                              or external communications between

                3.            Ask whether the communications in 1. are discussing a                   or a
                              decision to be made, or contain a recommendation in respect of same;


      99999.76613/4987735.1




PRIVILEGED AND CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                              QE00211205
            Case 1:13-cv-01432-RA-KNF Document 139-18 Filed 12/29/15 Page 8 of 12
      ATTORNEY WORK PRODUCT                                                                            Page6
      PRIVILEGED and CONFIDENTIAL                                                                      DRAFT



                4.            Ifyes, tag as DP.

      •         If you see a                                         discussion by another
                                                  -which should be extremely rare, you may tag it "DP" but
                bring it to the attention of the Associate.


      VI.                                           :


                , it is DP applied to the "opinions, recommendations, and deliberations" of
                                                        BEP goes further than DP however, because the
      courts have held that BEP will protect communications
                                     subsequent, internal deliberations, etc. Because they can be
      considered             BEP may apply to external communications between
                         In short:

                 1.           Look for external communications between                                      ;

                2.            Ask whether the content of those communications would meet the test for DP;

                3.            Ifyes, tag as BEP.




      99999.76613/4987735.1




PRIVILEGED AND CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                QE00211206
            Case 1:13-cv-01432-RA-KNF Document 139-18 Filed 12/29/15 Page 9 of 12
      ATTORNEY WORK PRODUCT                                                                            Page 7
      PRIVILEGED and CONFIDENTIAL                                                                      DRAFT


      VII. Non-Responsive Documents

      •         Generally, ifyou cannot tell on the face of a document (an in any family context) whether
                or not it is responsive (e.g., draft                                         ), then it is
                NOT Responsive.

      •                       : His                                                   emails are not
                responsive. (8/30/12)

      •


      •         Court documents: That's a publically filed complaint against us in federal court- we
                don't need to provide them that -they have it.

      •                         : as far as Andrew knows, there aren't any
                               at issue in these cases. (Andrew 9/19/12)

      •         Documents dealing only with

                                  (7/11/12 -      )

      •         General statements about the U.S. economy that do not single out the


      •         Individual                  document (as a                   ), which is not identified with
                one of our               . (7 /6/12)

      •         Documents concerning

      •


      •                                             These docs are not responsive--unless they meet one
                of our other responsiveness categories.

      •         Documents concerning general                             analysis/review (unless they at
                least mention or break out figures for

      •                       reference: A document that primarily concerns                  , with only a
                passing reference to     would be NR.

      •                        - Non-responsive. The document in question didn't pertain to the
                                      . Instead, it seemed to be provide details on       business
                selling their own




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PRIVILEGED AND CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                QE00211207
           Case 1:13-cv-01432-RA-KNF Document 139-18 Filed 12/29/15 Page 10 of 12
      ATTORNEY WORK PRODUCT                                                                            PageS
      PRIVILEGED and CONFIDENTIAL                                                                      DRAFT


      •                     Reporting: Consist of large modeling spreadsheets pertaining to
                           reporting. These appear to be non-responsive              documents.
                (9/13/12) Here are snippets:




      •                        : Generally, a        is when the

                                                                                    . (9/24/12)
                              should be marked Non-Responsive and tagged
                                      There must be substantive discussion regarding any
                                           or not).

      •

      •                                                                           most likely all NR

      •                      Documents that deal only this company are NR unless they meet another test
                for responsiveness (ie., discussing

      VIII. Technical

      •         If you come across a document that has been produced
                "Reviewer- READ ONLY- PRODUCED DOC."
                Let Andrew or a second level reviewer know immediately. Please note that when
                moving to the next document, you will have to manually change your layout to the
                correct layout for review- i.e. "Reviewer" mode as shown below.




      •         Review batches may contain documents from more than one custodian.

      •                       was a document storage program at        .



      99999.76613/4987735.1




PRIVILEGED AND CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                QE00211208
           Case 1:13-cv-01432-RA-KNF Document 139-18 Filed 12/29/15 Page 11 of 12
      ATTORNEY WORK PRODUCT                                                                               Page9
      PRIVILEGED and CONFIDENTIAL                                                                         DRAFT


      •         If a custodian named something like "                                " is a        LAN. In
                your billing description, you can call this custodian

      •         If a document is not opening in viewer mode, you can select the dropdown were it says
                "Draft" and select ''Normal", this will show the main body of the document. When you
                select "Preview" this will try to pull in all of the data.

      •         .CAD, .CAS, .NEX, .mdb, .snp, Microsoft Access files and other files with unusual
                extensions that will not open in Relativity should be tagged Technical Issues.

      •         .JAR and .txt files: If you come across these files you can review these documents as
                normal as they are similar to .zip files. (9/11/12)

      •         NSF Emails: There is a new "NSF" tag. It should be used anytime you encounter a doc
                with the NSF problem and should be used in conjunction with Responsive, Non-
                Responsive and Privileged documents. Use of this tag will help our vendor research the
                issue and provide a solution. As a reminder, the NSF issue concerns documents that
                aren't displayed properly in Viewer and Extracted Text modes. Clues you have an NSF
                doc and how to review them are:

                              Viewer Mode
                              1.    The viewer may have scroll bars which normally aren't there. Use them to
                                    see text that may be moved far right, left or to the bottom.
                              2.    The viewer may stretch paragraphs/sentences beyond the normal
                                    parameters. Scroll to review.
                              3.    The viewer may appear to drop text such as headers or info from the
                                    headers and then may put display info in another location on the
                                    document. Look for headers in odd locations, including the bottom of a
                                    message.

                              Extracted Text
                              1.     The extracted text view may place text in alternate locations of document.
                                     Again, look for "missing" text in other locations on the document.

      You can also spot the NSF docs in the document list:




      99999.76613/4987735.1




PRIVILEGED AND CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                   QE00211209
           Case 1:13-cv-01432-RA-KNF Document 139-18 Filed 12/29/15 Page 12 of 12
      ATTORNEY WORK PRODUCT                                                                        Page 10
      PRIVILEGED and CONFIDENTIAL                                                                   DRAFT


      IX. ADMINISTRATIVE

      •         Phone Numbers for the Offsite Rooms:

                              1275/76: (646) 378-7971 {Priv Team Rom}
                              1277: tba
                              1278: (646) 378-7826
                              1279: tba
                              Penthouse: N/A

      •         Special Projects: Alert Andrew if you get asked to work on a special project, unless he's
                already cc'd in the email. (8/29/12)

      •         Email: And don't forget to check your QE email at least once an hour. (8/29/12)

      •         Review Center hours: Going forward, the review center's hours will return to our
                original hours:
                        Monday- Friday: 8:30AM- 8:00 PM
                        Saturday: CLOSED




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PRIVILEGED AND CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                             QE00211210
